 

 

Case 12-13262-CTG Doc 1585-1 Filed 06/25/14 Page 1 of 3

EXHIBIT A

DOCS_DE:193290.4 73864/001

 

 
 

 

Case 12-13262-CTG Doc 1585-1 Filed 06/25/14 Page 2 of 3

100/P98EL b'067¢61'Aa SOOd

 

 

 

 

 

 

 

 

 

 

 

 

 

poinoesun sv poyissefo Apiodoad st — S79 (ON S080 {N ‘joney] uno]

soSeurep uoroafas 10] wirejo Surureutod Aue ‘pojoofar asvoy pernoesuf) upy | Pl'9le sts sexP0d SUOISASY 007 MINg “OAL JOYNED BCT

~ ‘ . , 6SI SOOIAIOS [VIOUBULJ UOURD

powasse Aquond ou ‘Ayuo1d 51n99 oo ered OLELO CN ‘AND Aassog

ylasse you soop juawspnf uonnedeid uodn poseq wep pemoesfy UMOUAUL | PSS O8E$ vel QUO}SADY PaBAg{Nog UOISUIYseA\ O8P

soueuly yuouldinby 4¢

Ayuorid pamnoesun 0} A[UO papius yusts0I1se :

uornodaid uo pase wiels {7107 “¢ JOQUIOAON UO sBuIZI0,5 a 6796 OS POOMuUs>ID)

poomusaln Joigaq Ag pamnsexo juauaarBe payorne pemoosuy) urpy | 00°000 0€$ L9C POOMUDAIE) nogy BUIMS COZ

0} Juensind snuog & oj AWOL sANeNSTUTUIpE syoos WED speoud Iuey

Ayuorid pamnoosun oj ATWO payynus .

juourse18e uonedaid uodn paseq juowAed snuog ‘6007 oe SLO8P DN PPeyyinos

‘CZ YOUR] panoaxe yUoUIONISe JUSWIAO] dua ue 0} JUeNsInd pomnoasuf) AMsOUd | LEO@T'SLLS SLC SUOSASY OOLT AINg “O}UaD UMOT OOOE

snuog predun so} snyeys Ayoud jersred syosse we]D sueyZ NA
Jusuisa13e uoTWedesd 0) yuensind

WIE] Jo AyOLUd sANeSTUTUpe JO} sIseq OU ‘UoUaaIse 901 “ON SLOSb IN ‘Pleytnos

uonnedaid 0} yuensind poureys snuog pur uonesuaduroo posnsesuy) ulUIpy | 09'P8E00T$ 19400 SUOISASY OOLT SIN “1oJUDD UMOL OOOE

predun pasoyje ‘snuoq jenuue pue uorlesuaduros pod surey7 nx
uonned-jsod 107 Ayorid sanesstunUpe siosse WIe[D

WIe]D oy} 0} poysene st ust woddns SLOSP IN ‘pleyynos

0} JUSUINDOP Joyo 10 JUOWIAAIZe AjLIndes OU “[]eMoITy poinsasup pomoss | oL'sSiz‘7z$ 8 QUO}SADY ayINg ‘19d UMOL NDOT

pue orempaey ‘azemyyos 10} Aytiotid poinses spiasse Wle[D -diog ssoutsng oxuy

 

SWIE[D Paljissepoy

V UQIYX

 

 
 

Case 12-13262-CTG Doc 1585-1 Filed 06/25/14 Page 3 of 3

 

100/P98EL P'O6zE61‘Ad SOOd

 

ETESh LW “PIeyWoolg se

 

 

 

 

Zururewial Aue ‘poumnjos juouidinbe pue pajoafas ose]

 

 

 

 

 

 

 

Ayso1id pornoasun 0} AjUo popiue sjusursesse uonnedeid amoosu ou og 016 ON
0} Juensind sumteyo Arepes poyeqe pue snuog ‘s0UeIOARS P 1 FUpV | ST9ve 9s JoY0q SUOISASY peow Jing O1e'T 916
umolg Aer
9}e1S9 OY) JsUIese SUIeIUOI amoasu ainoe oe P9CSI Vd “ysungsitd
UNTe]O painogs ou ‘pouinjas ywourdinbs ‘asea] juowdinby P Nn P S| 89020 TITS 69 Poomuselt) 6rLer9 XOg ‘O'd
SOOTAIOS [PIOURUT OWHN
a}e}SO oy} JSUTeSe SUTRUIOI amnoosu moa i, 8Sz79S NW ‘Teysze
ulle[o pamnoas ou ‘power jwoudinba ‘aseal yuourdmnby P Nn pemoes 00°00S°L$ ce dOdL 99S PUPPY OL ET
‘ goueuly juoudinby yueg sn,
Aysorad pomoasun 0} A[UO aimoasu — SI¢ ‘ON 60€8h TW “STITH J9}89490y
pophue juowisaide uonneded uodn poseq yuourked snuog pemoosuf) IWPV | 00°000 00I1$ yoy90q] dOdL NOD senssury 1761
Yorueyny® [oeyorpl
Peamoosun S080 {N ‘Taney juno
se payisseo Apiodoud st sodewep uonoolas 10} wires pornoasuy) pamoss } cor L‘OS$ ZI gUuO}SADY 00Z 21INg ‘oALI JOUNED sl

jeroueury uoues

 

 

 

 
